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Opinion filed August 31, 2006

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&nbsp;&nbsp;&nbsp; Eleventh Court of Appeals

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN
THE INTEREST OF K.I.A., A CHILD&nbsp; 

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Appeal from the County Court at Law No. 2 

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Court Cause No. CC2-17,530

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P I N I O N

Mary Margaret Marquez appeals from the trial court=s order in suit affecting the
parent-child relationship.&nbsp; We affirm.

Background Facts 








K.I.A. was born to Marquez in June 2002.&nbsp; Christopher Alvarado, appellee, alleged that
Marquez made him believe that he was the father of K.I.A. from the time she
became pregnant until after K.I.A. was born.&nbsp;
In August 2004, Marquez filed a writ of habeas corpus requesting the
trial court to order Alvarado to return custody of the child to her.&nbsp; In her writ, Marquez stated that Alvarado was
a non-parent of K.I.A. and did not have a right to possession of K.I.A.&nbsp; After the child was returned to Marquez, she
filed a notice of nonsuit for the writ of habeas corpus.&nbsp; Alvarado filed an original petition in a suit
affecting the parent-child relationship.&nbsp;
In his petition, Alvarado sought joint managing conservatorship of the
child and to have child support orders entered.&nbsp;
After the petition was filed, DNA results conclusively showed that
Alvarado was not the father of K.I.A.&nbsp;
After receiving the DNA results, Alvarado filed a motion for sanctions
seeking a judgment against Marquez for all monies paid to her for the care and
support of K.I.A. in the amount of $2,543. Marquez filed a motion to deny
relief as to the motion for sanctions and a motion to dismiss the petition to
establish the parent-child relationship alleging that Alavardo did not have
standing to maintain the suit.&nbsp; The trial
court denied Marquez=s
motion, held a hearing, and awarded Alvarado $1,750 as reimbursement for money
paid to Marquez for child support.&nbsp; The
trial court also found that the genetic testing excluded Alvarado as the father
of K.I.A. and adjudicated him as a non-parent.&nbsp;
Marquez appeals from this judgment.

Issue on Appeal 

Marquez asserts in her one issue that the trial
court did not have jurisdiction to enter an order other than an order of
dismissal because Alvarado did not have standing to maintain the case.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Standard
of Review 

A party=s
standing to pursue and maintain a cause of action is a question of law.&nbsp; Coons-Andersen v. Andersen, 104 S.W.3d
630, 634 (Tex.
App.CDallas
2003, no pet.).&nbsp; We review the question
of standing de novo. &nbsp;Mayhew v. Town
of Sunnyvale, 964 S.W.2d 922, 928 (Tex. 1998); Coons-Andersen,
104 S.W.3d at 634. 

Suit Affecting the Parent-Child Relationship

Standing is a threshold issue and must be decided
before the merits of the case.&nbsp; In the
Interest of Pringle, 862 S.W.2d 722, 724 (Tex. App.CTyler
1993, no pet.).&nbsp; Tex. Fam. Code Ann. '
102.003(a)(8) (Vernon Supp. 2006) lists the persons who may bring and maintain
a suit affecting the parent-child relationship.&nbsp;
Specifically, it provides:

(a) An original suit may be filed at any time by:

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(8) a man alleging himself to be the father of a
child filing in accordance with Chapter 160, subject to the limitations of that
chapter, but not otherwise.

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Tex. Fam. Code Ann.
ch. 160 (Vernon 2002 &amp; Supp. 2006) governs paternity actions. A man whose
paternity is to be established has standing to maintain a proceeding to
adjudicate parentage.&nbsp; Section 160.602.

In Alvarado=s
petition in the suit affecting parent-child relationship, he alleged that he
was K.I.A.=s father
and that he had filed an acknowledgment of paternity with the Texas Department
of Health Bureau of Vital Statistics.&nbsp;
Determining standing at the outset of the case and without delving into
the merits of the case, Alvarado had standing to bring the petition in the suit
affecting the parent-child relationship.&nbsp;
Section 102.003(a)(8).&nbsp; When the
DNA results indicated that Alvarado was not the father of K.I.A., the trial
court still had jurisdiction to adjudicate the parentage of K.I.A. Section
160.602.&nbsp; The mere fact that DNA test
results were returned did not make the proceeding moot.&nbsp; See Tex.
Health Care Info. Council v. Seton Health Plan, Inc., 94 S.W.3d 841, 846
(Tex. App.CAustin
2002, pet. denied) (case becomes moot when one seeks a judgment that if
rendered cannot have any practical effect on a then-existing controversy).&nbsp; The trial court had not yet adjudicated
Alvarado as a non-parent, and both parties had the opportunity to present a
challenge to the test results.

Because Alvarado did have standing to maintain
this suit, the trial court had jurisdiction, and its sanctions order is not
void.&nbsp; We overrule Marquez=s issue on appeal.

Conclusion

We affirm the trial court=s
judgment.

&nbsp;

RICK
STRANGE&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

JUSTICE

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August 31, 2006

Panel
consists of:&nbsp; Wright, C.J., and

McCall,
J., and Strange, J.





